Case 2:05-cr-20056-SH|\/| Document 54 Filed 09/01/05 Page 1 of 2 Page|D 62

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UNITED sTATEs DISTRICT CoURT ‘ ` '

wEsTERN DISTRICT oF TENNESSEE 95 SEP ~l ppg 5= 15
Western Division n

     
     

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UNITED STATES OF AMERICA .‘i'J i, ., :-¢;li'§?thH!S
-vs- Case No. 2:05cr20056-04Ma
TERRELL BROWN

 

ORDER OF TEMPORARY DETENTION
PENDING I»IEAR]NGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Govemment, it is ORDERED that a detention hearing is set for
WEDNESDAY, SEPTEMBER 7, 2005 at 2:45 P.M. before United States Magistrate Judge Diane
K. Vescovo in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building,
167 North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by
the United States Marshal and produced for the hearing.

Date: Septernber 1, 2005 -

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

llf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemrnent, or up to five days upon motion of the defendant 18 U.S.C. § 3142(1`)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f`) are present. Subsection (l ) sets forth
the grounds that may be asserted only by the attemey for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officers own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (BIBS) Order of Temporary Detention

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Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:05-CR-20056 Was distributed by faX, rnail, or direct printing on
Septernber 15, 2005 to the parties listed.

 

 

PDA

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Honorable Samuel Mays
US DISTRICT COURT

